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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF DELAWARE

         BASF PLANT SCIENCE, LP,                       )
                                                       )
                      Plaintiff,                       )
                                                       )
                v.                                     ) C.A. No. 17-421-VAC-CJB
                                                       )
         NUSEED AMERICAS INC.,                         )
                                                       )
                      Defendant.                       )


                                    DEFENDANT’S MOTION TO DISMISS

                 Defendant Nuseed Americas Inc. (“Nuseed Americas”) respectfully moves the Court for

         an Order, substantially similar to the proposed form of order attached hereto, dismissing the

         Complaint pursuant to Fed. R. Civ. P. 12(b)(1) and 28 U.S.C. § 2201(a), 12(b)(6), or 12(b)(7).

         The specific grounds for Nuseed Americas’ motion are set forth in Nuseed Americas’ Opening

         Brief in support of its Motion to Dismiss and the Declaration of Andrew Bruce Thomas On

         Behalf of Nuseed Americas, filed contemporaneously herewith.


         Dated: July 14, 2017

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                                         CERTIFICATE OF SERVICE

                I, Samantha G. Wilson, Esquire, hereby certify that on July 14, 2017, I caused to be

         electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

         using CM/ECF, which will send notification that such filing is available for viewing and

         downloading to registered participants.

                I further certify that on July 14, 2017, I caused the foregoing document to be served by e-

         mail upon the following counsel:

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         Dated: July 14, 2017
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